Case 2:19-cv-06572-PSG-RAO Document 7 Filed 07/30/19 Page 1 of 3 Page ID #:256



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 15
 16                          UNITED STATES DISTRICT COURT
 17                        CENTRAL DISTRICT OF CALIFORNIA
 18
 19    THE REGENTS OF THE                      Case No. 2:19-cv-6572
       UNIVERSITY OF CALIFORNIA,
 20
                     Plaintiff,                PLAINTIFF THE REGENTS OF
 21                                            THE UNIVERSITY OF
             vs.                               CALIFORNIA’S CIVIL LOCAL
 22                                            RULE L.R. 83-1.4 NOTICE OF
       TARGET CORPORATION,                     PENDENCY OF OTHER
 23                                            ACTIONS OR PROCEEDINGS
                     Defendant.
 24
                                               Complaint Filed: July 30, 2019
 25
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                   NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS
Case 2:19-cv-06572-PSG-RAO Document 7 Filed 07/30/19 Page 2 of 3 Page ID #:257



  1         Pursuant to Central District of California Civil Local Rule L.R. 83-1.4,
  2   Plaintiff The Regents of the University of California (“The Regents”), by and
  3   through its undersigned counsel, hereby provides notice of other pending civil
  4   actions involving all or a material part of the subject matter of this action.
  5         In this action, The Regents seeks relief for infringement of U.S. Patent
  6   Number 7,781,789, entitled “Transparent Mirrorless Light Emitting Diode” (“’789
  7   patent”). The ’789 patent also is at issue in the pending actions identified below.
  8   As such, the undersigned believes that the Court may consider this action to involve
  9   all or a material part of the subject matter of such other actions.
 10         In this action, The Regents also seeks relief for infringement of U.S. Patent
 11   Number 9,240,529, entitled “Textured Phosphor Conversion Layer Light Emitting
 12   Diode” (“’529 patent”). The ’529 patent also is at issue in the pending actions
 13   identified below. As such, the undersigned believes that the Court may consider
 14   this action to involve all or a material part of the subject matter of such other
 15   actions.
 16         In this action, The Regents also seeks relief for infringement of U.S. Patent
 17   Number 9,859,464, entitled “Light Emitting Diode With Light Extracted From
 18   Front And Back Sides Of A Lead Frame” (“’464 patent”). The ’464 patent also is
 19   at issue in the pending actions identified below. As such, the undersigned believes
 20   that the Court may consider this action to involve all or a material part of the
 21   subject matter of such other actions.
 22         In this action, The Regents also seeks relief for infringement of U.S. Patent
 23   Number 10,217,916, entitled “Transparent Light Emitting Diodes” (“’916 patent”).
 24   The ’916 patent also is at issue in the pending actions identified below. As such, the
 25   undersigned believes that the Court may consider this action to involve all or a
 26   material part of the subject matter of such other actions.
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                 NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS
Case 2:19-cv-06572-PSG-RAO Document 7 Filed 07/30/19 Page 3 of 3 Page ID #:258



  1         The Regents of the University of California v. Walmart Inc., Case No 2:19-
  2   cv-6570, filed on July 30, 2019, is an action for infringement of the ’789, ’529,
  3   ’464, and ’916 patents, and is now pending in the U.S. District Court for the Central
  4   District of California. The action involves products other than those accused of
  5   infringement in the instant action. The parties in the action are Walmart Inc. and
  6   The Regents. Walmart Inc. has not appeared in the action and does not have an
  7   attorney of record.
  8         The Regents of the University of California v. Amazon.com, Inc. and
  9   Amazon.com Services, Inc., Case No 2:19-cv-6571, filed on July 30, 2019, is an
 10   action for infringement of the ’789, ’529, ’464, and ’916 patents, and is now
 11   pending in the U.S. District Court for the Central District of California. The action
 12   involves products other than those accused of infringement in the instant action.
 13   The parties in the action are Amazon.com, Inc., Amazon.com Services, Inc., and
 14   The Regents. Amazon.com, Inc. and Amazon.com Services, Inc. have not appeared
 15   in the action and do not have an attorney of record.
 16
 17    Dated: July 30, 2019                NIXON PEABODY LLP
 18
 19                                        By: /s/ Shawn G. Hansen
                                              Shawn G. Hansen
 20
                                               Attorneys for Plaintiff
 21                                            THE REGENTS OF THE
                                               UNIVERSITY OF CALIFORNIA
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                 NOTICE OF PENDENCY OF OTHER ACTIONS OR PROCEEDINGS
